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   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF NEW JERSEY

   Caption in Compliance with D.N.J. LBR
   9004-1(b)

   MANDELBAUM BARRETT PC                              Case No. 23-13359 (VFP)
   3 Becker Farm Road, Suite 105
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   Randall County

   In re

   Bed Bath & Beyond, Inc.

                            Debtor.



 OPPOSITION RESPONSE OF THE TAXING DISTRICTS COLLECTED BY RANDALL
  COUNTY TO DEBTORS’ MOTION TO DETERMINE TAX LIABILITY AND STAY
                             PROCEEDINGS
                      (Relates to Document No. 2157)

           The Taxing Districts Collected by Randall County (collectively the “Respondents” or the

 “Taxing Entities”) hereby oppose the Debtors’ Motion to Determine Tax Liability and Stay

 Proceedings (hereinafter, “Motion”) for the reasons set forth herein, and request that this Court

 deny Debtors’ Motion or exercise its discretionary power to abstain from hearing this matter.

                                      I.    INTRODUCTION
           1.      On September 11, 2023, Debtors Bed Bath & Beyond, Inc., (“Debtors”) Motion to

 Determine Tax Liability and Stay Proceedings, seeking relief under 11 USC § 505. Specifically,

 Debtors request that this Court determine market values upon which to compute taxes for the years

 2023 as to the Claims and to stay state proceedings in Texas. Although Section 505(a) of the

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 Bankruptcy Code permits a bankruptcy court to determine the amount of a tax, it does not require

 the bankruptcy court to do so. In this case, the Court should abstain from such matters and allow

 the state courts to proceed.

          2.         Respondents are the holders of a secured ad valorem tax claim secured by liens on

 property located within Texas and owned by Debtors. Such claim was filed with Kroll

 Restructuring Administration on April 28, 2023 and is claim #59 (the “Tax Claim”)1. Debtors’

 Motion rests upon an alleged improper valuation of property located at the Debtors store locations

 in Texas (the “Property”), but the Respondents do not participate in the valuation process. As such,

 the Debtors have not brought the proper parties before the Court, so the Debtors’ Motion should

 be denied. In the alternative, Respondents respectfully request that the Court exercise its authority

 of permissive abstention. Respondents will show that the factors articulated in In re Luongo, 259

 F.3d 323, 330 (5th Cir. 2001) weigh in favor of permissive abstention as set forth in 28 U.S.C. §

 1334(c)(1).

          3.         At the time the Motion was filed, the appraised values for 2023 were complete and

 final unless a Notice of Protest was filed under Texas state law on or before May 15, 2023.

 Respondents are generally prohibited from valuing property or participating in the administrative

 process as discussed in more detail herein. Therefore, the Respondents lack information to

 sufficiently determine whether protests were timely filed.



               II.      OBJECTION TO MOTION TO DETERMINE TAX LIABLITY

 Debtors Do Not Have the Proper Party Before the Court for an Action Under 11 USC §505


 1
   The Tax Claim includes not only 2023 estimated ad valorem property taxes, but also the 2022 actual taxes. At the
 time the Motion was filed, the tax assessments were already delinquent and owing for the 2022 tax year. Further,
 Debtor had not properly disputed said 2022 tax assessments pursuant to provisions of the Texas Property Tax Code.
 Debtors’ claim objections only address the 2023 portion of the Tax Claim.
                                                          2

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          4.       Debtors’ Motion relies upon alternative valuations for property upon which

 Respondents collect taxes. As the valuation of property is not within the scope of Respondents’

 statutory duties, Debtors have not brought the proper parties before the Court. Respondents

 generally do not have control over or access to the renditions (the Debtor’s annual report of assets

 held on January 1, 2023), which may have been previously submitted by Debtors, or the appraisal

 district valuations that Debtors dispute. Respondents are simply “responsible for collecting

 property taxes for a taxing unit.” See Tex. Tax Code § 1.04(15). Only upon adjudication pursuant

 to the Texas Property Tax Code may the amounts collected by Respondents be revised. See Tex.

 Tax Code § 25.25, and Chapters 41 and 42.

          5.       The Texas Property Tax Code is a classic example of a “pervasive regulatory

 scheme” evidencing a legislative intent to vest the appraisal district with exclusive jurisdiction.

 See Jim Wells County vs. El Paso Production Oil and Gas Company, 189 S.W.3d 861, 871 (Tex.

 App. Hous. [1st Dist.], 2006, pet. denied). One of the Texas Legislature’s primary purposes in

 enacting the Property Tax Code was to establish a system that yields fair and uniform valuations

 across the taxing units. Id. To accomplish this purpose, the Texas Legislature established a

 centralized appraisal district for every county (the “Appraisal Districts”) and charged the Appraisal

 Districts with the exclusive responsibility for appraising property in the district for ad valorem tax

 purposes for each taxing unit that imposed ad valorem taxes. Id.; Tex. Tax Code § 6.01. In contrast,

 the Respondents, tax collecting units, only levy taxes, collect taxes, or issue refunds - they do not

 value property for tax purposes.2 Tex. Tax Code §6.23; 42.43. The Respondent tax collecting units




 2
   Lubbock Central Appraisal District, a respondent herein, serves the dual purposes of appraising property and
 collecting taxes. However, it’s appearance in this bankruptcy via the claim filed by Lubbock Central Appraisal
 District was filed solely in its role as the tax collector via interlocal contracts with the taxing units of Lubbock
 County, Texas. While acting in the collector role, Lubbock Central Appraisal District, stands in the shoes of the
 taxing units and has no more authority concerning appraisals than any other taxing unit pursuant to Texas law.
                                                             3

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 have nothing to do with setting the tax value, and indeed are prohibited by law from even

 employing an appraiser to conduct such valuations. Id. § 1.15.

          6.       The Appraisal Districts are indispensable parties to any action regarding the

 determination of the value of the property subject to the Tax Claim, however they have not been

 properly brought before this court. The Appraisal Districts have not filed claims, entered

 appearances, consented to jurisdiction, or been served with a complaint.

          7.       The Respondents have no authority under Texas law to determine or establish the

 value of the Property. The Texas Property Tax Code makes clear, for good reason, that there is an

 unassailable wedge between the Appraisal District and the taxing authorities regarding the

 appraisal process: i) “A taxing unit may not employ any person for the purposes of appraising

 property for taxation purposes except to the extent necessary to perform a contract under Section

 6.05(b) of this code.” Tex. Tax Ann. § 1.15; ii) “A taxing unit may not intervene in or in any other

 manner be made a party, whether as defendant or otherwise, to an appeal of an order of the

 appraisal review board determining a taxpayer protest under Subchapter C, Chapter 41, if the

 appeal was brought by the property owner.” Tex. Tax Ann. § 42.031(b); and iii) Under Section

 6.01(b) of the Texas Property Tax Code an Appraisal District, is “…responsible for appraising

 property in the district for ad valorem tax purposes of each taxing unit that imposes ad valorem

 taxes on property in the district.” To further illustrate, a member of the governing body or officer

 or employee of a taxing unit commits a Class A misdemeanor if the person directly or indirectly

 communicates with the chief appraiser or another employee of the appraisal district in which the

 taxing unit participates for the purpose of influencing the value at which property is appraised

 unless the person owns or leases the property that is the subject of the communication. Tex. Tax

 Ann. § 6.155.


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          8.       To the extent that the property valuations requested by the Debtors result in reduced

 values, the Respondents are required by Texas law to base the tax levies on such reduced values

 and, to the extent taxes have already been paid on higher values, issue refunds to the Debtors based

 on the reduced values. In other words, the role of the Taxing Entities, with respect to the

 determination of taxes, is limited to the ministerial duty of implementing the changes required by

 Texas law based on the values determined by the proper court using the system outlined in the

 Texas Tax Code.



 Debtors Must File Adversary Proceedings to Bring a Proper Action Under 505
          9.       The Debtors filed this Motion as well as an omnibus objection to multiple tax

 claims where the tax liability is based on the taxation of separate and distinct property. As indicated

 in detail herein, the Taxing Entities do not have the authority or the ability to determine, litigate,

 or negotiate the values set by the individual Appraisal Districts in each county. As such each

 individual Appraisal District charged with valuing the Property is a necessary and proper party to

 actions brought under §505 when dealing with Texas property. The Appraisal Districts are not

 parties to the bankruptcy and have not consented to jurisdiction. The only way to properly obtain

 jurisdiction of the Appraisal Districts is to file an adversary proceeding under Federal Rules of

 Bankruptcy Procedure 7003. In order to do so, the Debtors would need to file adversary

 proceedings against both taxing entities included in this Motion as well as 30 separate adversary

 proceedings against the 30 separate Appraisal Districts listed in the omnibus objection filed at

 Document #2156.

          10.      Federal Rules of Bankruptcy Procedure Rule 7001(2) require that an adversary

 proceeding be brought to “determine the validity, priority, or extent of a lien or other interest in

 property….” The Taxing Entities hold statutorily created secured liens on the Debtors’ business
                                                     5

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 personal property and filed a secured Tax Claim. If granted, this Motion impacts the extent of the

 Respondents’ liens. See SLW Captial, LLC v. Mansaray-Ruffin, 530 F.3d 230(3rd. Cir. 2008)

 holding “…where the Rules require an adversary proceeding—which entails a fundamentally

 different, and heightened, level of procedural protections—to resolve a particular issue, a creditor

 has the due process right not to have that issue resolved without one.” at 242.

 Debtors May Be Time-Barred from Bringing Actions Under 11 USC §505(c)

          11.      The Debtors failed to prove or even allege that they have properly filed protests

 with the Appraisal Districts by the deadline established under state law which has now passed. 11

 USC §505(c) prohibits the Court from determining “the amount or legality of any amount arising

 in connection with an ad valorem tax on real or personal property of the estate, if the applicable

 period for contesting or redetermining that amount under applicable nonbankruptcy law has

 expired.” See City of Perth Amboy v. Custom Distribution Services, Inc. 224 F.3d 235 (3rd Cir.

 2000).

 Response and Objection to Motion and Lammert Declaration

          12.      The proper parties are not before this Court to address the valuation issues raised

 in the Declaration of John W. Lammert. The Appraisal Districts, not the taxing entities, valued the

 Property using the methods established under the Texas Property Tax Code, therefore, the values

 of the taxed properties are issues best determined under the Texas statutory process by the

 Appraisal Districts. The valuation suggested by Debtors is incorrect and contrary to Texas state

 Law and any data provided by PTRS, a third party whose employment has not been authorized by

 this Court, should not be admissible in this case3.



 3
  The Respondents note that while Assessment Technologies, Ltd was employed by the estate, the Motion and
 Objection along with the Lammert Declaration rely on data from third-party Property Tax Research Services, a
 professional not hired by the estate.
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          13.      The data provided by PTRS is improper because it included “Debtors’ sales data in

 connection with going out of business sales,” which were held after the Debtors’ bankruptcy filing.

 Under the Texas Tax Code, the Market Value is “the price at which a property would transfer for

 cash or its equivalent under prevailing market conditions” and should not be based upon

 bankruptcy or on a going out of business environment. Tex. Tax Code §1.04 (7). The Lammert

 Declaration incorrectly refers to the definition of “Market Value” as set out in the Texas

 Administrative Code, not the definition from the Texas Property Tax Code which follows.

                   “Market value” means the price at which a property would transfer for cash
          or its equivalent under prevailing market conditions if:
                          (A)     exposed for sale in the open market with a reasonable time
                          for the seller to find a purchaser;
                          (B)     both the seller and the purchaser know of all the uses and
                          purposes to which the property is adapted and for which it is capable
                          of being used and of the enforceable restrictions on its use; and
                          (C)     both the seller and purchaser seek to maximize their gains
                          and neither is in a position to take advantage of the exigencies of the
                          other.

 TEX. TAX CODE ANN. § 1.04(7) (West Supp. 2021).


          14.      The Lammert Declaration is further flawed in that it relies on valuation data from

 the incorrect valuation date. The Texas Tax Code specifies the valuation date as January 1st of the

 taxable year, which was prior to the bankruptcy filing. Tex. Tax Code §23.01. Further, §23.1 (b)

 requires that “each property shall be appraised based upon the individual characteristics that affect

 the property’s market value…” The Lammert Declaration fails to provide an analysis based on

 each individual store, located in different markets, assessed separately, as of January 1, 2023, using

 pre-bankruptcy market data. In situations where the Respondents have been able to review the

 renditions filed by the Debtors, the Debtors own valuations of the Property as of January 1, 2023

 is well above the values they are asking this Court to determine.




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                III.      REQUEST FOR VOLUNTARY PERMISSIVE ABSTENTION
          15.          The Court should exercise its discretion and abstain from hearing this Motion. In

 bankruptcy cases, discretionary abstention is governed by 28 U.S.C. § 1334(C)(1), which provides

 as follows: “…nothing in this section prevents a district court in the interest of justice, or in the

 interest of comity with State courts or respect for State law, from abstaining from hearing a

 particular proceeding arising under title 11 or arising in or related to a case under title 11.”

          16.          Further, 11 USC §505(a) provides that this Court has the discretion to decline to

 hear Debtors’ Motion. See 11 U.S.C. §505(a) (stating that “the court may determine the amount or

 legality of any tax…” (emphasis added)). See also In re Luongo, 259 F.3d 323, 330 (5th Cir. 2001)

 (“The bankruptcy court’s ability to abstain is premised on Congress’ use of the word ‘may’ in §

 505.”); In re New Haven Projects Ltd. Liability Co. 225 F.3d 283, 288 (2nd Cir. 2000) (“we

 interpret the verb ‘may’ in 11 U.S.C. §505(a)(1) as vesting the bankruptcy court with discretionary

 authority to redetermine a debtor’s taxes.”); In re Breakwater Shores Partners, L.P., 2012 WL

 1155773, at *2 (Bankr. E.D. Tex. Apr. 5, 2012) (“the exercise of jurisdiction under § 505 is

 discretionary with this Court.”); In re Gordon, 2011 WL 3878356, at *5 (Bankr. S.D. N.Y. Aug.

 30, 2011) (As the verb “may” indicates, the Court’s ability to determine a debtor’s tax liability is

 discretionary.”); In re Galvano, 116 B.R. 367, 372 (Bankr. E.D. N.Y. 1990) (§505 is discretionary,

 and “the Court may decline to review a debtor’s tax liability.”).

          17.          Bankruptcy courts consider a number of factors in determining whether to abstain,

 including, but not limited to, “the complexity of the tax issues to be decided; the need to administer

 the bankruptcy case in an orderly and efficient manner, the burden on the bankruptcy court’s

 docket, the length of time required for trial and decision, the asset liability structure of the debtor,

 and the prejudice to the taxing authority.” See In re Luongo, 259 F.3d at 330; See also In re New

 Haven Projects, 225 F.3d at 289. These factors weigh in favor of abstention in this case.
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     A. Complexity of Tax Issues To Be Decided
          18.      Complex tax issues are involved in this case due to the complex nature of the

 property and the requirements of Texas law. The issues to be decided are fact intensive and only

 involve issues of state law. See In re Vanguard Natural Resources, LLC, 603 B.R. 310, 320 (Bankr.

 S.D. Tex. 2019) (“Courts have generally abstained from hearing §505 requests, when the tax issue

 is fact intensive”). The tax determination in this case would require the Court to hear each motion

 separately, in over 30 separate hearings, based on the individual facts of each. The Court would be

 required to value property located throughout the state of Texas, which would be a significant and

 time-consuming undertaking for the Court. Moreover, determining the precise value, based on

 Texas law, of such property would require the Court to consider numerous complex issues under

 Texas law pertaining to retail property. While the Respondents do not doubt the Court’s ability to

 understand complex tax issues, tax litigation in various Texas courts would be far more expeditious

 when heard by courts regularly tasked with the process. Hearing each individual Texas-based

 valuation would be a burdensome judicial determination requiring considerable time and effort by

 the Bankruptcy Court.

          19.      As noted above, the Texas Property Tax Code evidences the Texas Legislature’s

 intent to provide a clear and concise system that results in fair and consistent property valuations

 for ad valorem property taxes throughout the numerous appraisal districts in each county. Tex.

 Tax Code § 6.01. Moreover, the Respondent Taxing Entities are limited to the collection of taxes

 and issuance of any applicable refunds. Tex. Tax Code §6.23; 42.43. By abstaining from Debtors’

 Motion, the state-law appointed parties, appraisal districts, will properly determine valuation.

          20.      In April of each year, Texas tax appraising authorities issue appraisals of the

 Debtors’ property, using generally accepted appraisal methods and techniques. Tex. Tax Code §

 23.01. The chief appraiser for each authority is then required to submit the completed appraisal
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 records to the appraisal review board (the “ARB”) for review and determination of protests. Id. §

 25.22(a). Among the many duties of the ARB is the determination of protests initiated by property

 owners. Id. § 41.01(a)(1). The property owner is entitled to protest before the ARB a number of

 actions, including the determination of the appraised value of the owner’s property or the unequal

 appraisal of the owner’s property. Id. § 41.41(a). Debtors’ valuation protests on property included

 in Respondent’s claims, if previously filed, may be timely returned to courts in Texas for

 consideration. See 11 USC § 108(a). Yet, Respondents have no control over this process or the

 resulting valuations.

     B. Need To Administer the Bankruptcy Estate in an Orderly and Efficient Manner
          21.      Retaining these state court matters would not assist in administering the bankruptcy

 case in an orderly and efficient manner. Debtors have failed to demonstrate that a tax determination

 by the Bankruptcy Court would grant a more orderly, efficient, and prompt resolution. The Debtors

 have filed this Motion and an omnibus objection against other Texas taxing entities. In reality, each

 tax claim is based on the valuation performed by separate Appraisal Districts on separate property.

 Each valuation of the property subject to each tax claim is fact intensive and will need to be heard

 separately. Additionally, each valuation hearing will require separate expert reports, discovery, and

 testimony resulting in separate, lengthy evidentiary hearings. Based on this Motion and the

 additional objections to claims, at least 30 different hearings, with full blown discovery and

 testimony in each would be required if the Court retains jurisdiction Should the Court abstain, each

 matter can be held, virtually simultaneously, in the proper Texas state court, resulting in a more

 efficient administration of the bankruptcy estate.

     C. Burden on the Bankruptcy Court’s Docket
          22.      The Court’s docket is sufficiently stressed with the numerous matters that are

 required to be decided in this venue. Respondents are aware of other Objections and Motions filed
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 by Debtors’, asserting similar disputes, with each case presenting its own nuances and body of law

 applicable to each jurisdiction. The court in In re CM Reed Almeda 1-3062, LLC abstained from

 adjudicating section 505 issues for property located in Texas, stating that, “because there is a

 review process available to the Debtor in Texas, ‘it seems most appropriate that the debtor in

 chapter 11 proceed with the systems already in place’ for determining its state tax liability, ‘rather

 than substituting this court for that process.’ 2016 WL 3563148 at *9 (quoting In re the Village at

 Oakwell Farms, Ltd., 428 B.R.372, 375 (Bankr. W.D. Tex. 2010); See also In re Elantic Telecom,

 Inc., 2005 WL 3781715, Case No. 04-36897-DOT (Bankr. E.D. Va. Dec. 2, 2005) (bankruptcy

 court abstained in part because tax issue was a local issue better resolved by the state); Lyondell

 Chem. Co., 2010 WL 1544411, at *2 (Bankr .S.D. N.Y. Apr. 19, 2010) (New York bankruptcy court

 abstained from determining debtor’s tax liability with respect to an oil refinery in Texas, where

 debtor preserved its rights to proceed in state tax proceedings).

     D. Length of Time Required for Decision
          23.      It would be unreasonable to presume that the Court could easily hear all of Debtors’

 Objections and Motions, regarding millions of dollars in property, located in numerous varied

 Counties in Texas, in a speedy and expeditious manner. Further, the Court would be required to

 provide a written opinion on each for the benefit of the Responents’ right to appellate review.

     E. Asset Liability Structure of Debtor
          24.      The Debtors have already confirmed a plan of liquidation and have reserved funds

 sufficient to pay the 2023 Texas tax claims in full. Debtors and Respondents agreed to a holdback

 amount, which was approved by the Order Confirming the Second Amended Joint Chapter 11 Plan

 (Document No. 2172). Under Texas law, Debtors should pay the portions of the taxes which are




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 not in dispute when due and continue to hold funds sufficient for payment of the balance in a

 reserve fund until a judicial determination has been made.

     F. Prejudice that Could Result to the Taxing Entities

          25.      Respondents, in their capacity as the entities collecting taxes, do not have

 jurisdiction to address the valuation issues raised in the Objection to Claim and Motion; which are

 exclusive statutory duties of the appraisal districts. The Court’s abstention in this matter will not

 result in prejudice to Debtors, who may still obtain judicial review of the assessments in Texas.

 Debtors must show that their valuation methodology is consistent with Texas law, which the Court

 must apply if it were to consider the relief requested. In re CM Reed Almeda 1-3062, LLC 2016

 WL 3563148 at *9. (Debtors’ Revised Fair Market Values and Revised Assessed Values were

 improperly calculated and understated, as they failed to consider the value of the property to a

 successor entity in the business). Evidence of value must be "sufficient to permit the court to arrive

 at a valuation that fits within the generous standards afforded appraisal districts by Texas law."

 In re Fairchild, 124 B.R. at 498. Respondents, as tax collecting units, are not privy to the appraisal

 and valuation information, and do not have the resources or training necessary to defend the

 appraisal done by the appraisal districts.


     G. Additional Factors Weighing in Favor of Abstention
          26.       Several courts have held that in instances where the uniformity of local assessment

 is at issue, it is proper for bankruptcy courts to abstain from hearing the matter. “As noted by Harris

 County, many courts have found abstention to be appropriate when uniformity of assessment is at

 issue.” In re CM Reed Almeda 1-3062, LLC, 2016 WL 3563148, at *10. Uniform and Equal

 valuation of property is founded in the Texas Constitution. Tex. Const. art. VIII, §1. "In the context

 of section 505, abstention is often used where the uniformity of assessment is an issue." ANC

 Rental Corp. v. Dallas County, 316 B.R. 153, 159 (Bankr. D. Del. 2004); In re Metromedia Fiber
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 Network, 299 B.R. 251, 281 - 283 (Bankr. S.D. N.Y. 2003) (fair allocation of the cost of

 government among the tax base must be a product of local decision making and depends more on

 uniform standards for assessing value than on an ideal calculation). If the Property is valued using

 a different method than other similarly situated property, it could create havoc and set precedent

 for valuing such property into the future. When a Bankruptcy Court redetermines taxes pursuant

 to 11 U.S.C. § 505, it must apply substantive applicable non-bankruptcy law. In re Fairchild

 Aircraft Corp., 124 B.R. 488, 492-93 (Bankr. W.D. Tex. 1991); Metromedia Fiber Network, 299

 B.R. at 270. This encompasses not only the law concerning the method of valuation but also the

 type of evidence that may be considered. “Each tax authority must enjoy and apply a uniformity

 of assessment within its tax jurisdiction.” In re Cable & Wireless U.S.A., Inc., 331 B.R. 568, 578

 (Bankr. D. Del. 2005).

          27.      It is clear that where uniformity of assessment is at issue, Bankruptcy Courts may

 exercise their right to abstain within their discretion. In re New Haven Projects Ltd. Liability Co.,

 225 F.3d 283 at 287-88; In re Metromedia Fiber Network, 299 B.R. 251; United States v. Paolo,

 No. C.A. 08-482ML, 2009 WL 2208094, at *4 (D.R.I. July 23, 2009) (abstention is appropriate

 where no bankruptcy purpose served which would outweigh the importance of uniformity of

 assessment).

          28.      Another factor courts consider when deciding whether to exercise their power of

 permissive abstention is whether the proceeding filed in bankruptcy court involves forum shopping

 by one of the parties. In the case of In re Republic Reader’s Service, Inc., the court stated that

 another factor when considering abstention is:

                        whether the proceeding was filed in bankruptcy court for the
                        purpose of forum shopping in order to gain some adversarial
                        advantage rather than for the reason that the proceeding is so related
                        to the estate that failure to adjudicate the proceeding within a

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                        bankruptcy forum would cause harm to or impede efficient
                        administration of the estate. All courts should attempt to protect both
                        the state and federal court systems from the illegitimate
                        gamesmanship involved in forum shopping.
 In re Republic Reader’s Service, Inc., 81 B.R. at 428; See also In re Coho Energy, Inc., 309 B.R.

 217, 222 (Bankr. N.D. Tex. 2004). In applying this factor to the instant case, abstention is

 warranted. The determination of the value of the properties is in no way “so related to the estate

 that failure to adjudicate the proceeding within a bankruptcy forum would impede the efficient

 administration of the estate.”

          29.      For these reasons, Respondents request the Court to exercise its power of

 discretionary abstention.

                                     RESERVATION OF RIGHTS

          30.      Respondents reserve their rights to present supplemental information and

 arguments as might become available after the filing of this Response, including joining and

 adopting arguments raised by other respondents, to Debtors’ Objection and Motion.



                                                 PRAYER
          WHEREFORE, The Taxing Districts Collected by Randall County respectfully request

 this Court deny the Debtors’ Motion or in the alternative exercise discretionary abstention as

 governed by 28 U.S.C. § 1334(C)(1) and grant them any other such relief as appropriate.



 Dated: Roseland, NJ
 October 17, 2023
                                                  MANDELBAUM BARRETT PC

                                                  By: /s/ Vincent J. Roldan
                                                  Vincent J. Roldan

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